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                             FOR PUBLICATION

              UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT

         TAHAWWUR HUSSAIN RANA,                            No. 23-1827
                                                             D.C. No.
                        Petitioner - Appellant,
                                                          2:23-cv-04223-
                                                               DSF
             v.

         W.Z. JENKINS II,                                    OPINION

                        Respondent - Appellee.

                  Appeal from the United States District Court
                     for the Central District of California
                   Dale S. Fischer, District Judge, Presiding

                      Argued and Submitted June 5, 2024
                            Pasadena, California

                              Filed August 15, 2024

         Before: MILAN D. SMITH, JR. and BRIDGET S. BADE,
          Circuit Judges, and SIDNEY A. FITZWATER, District
                                 Judge. *

                     Opinion by Judge Milan D. Smith, Jr.

         *
           The Honorable Sidney A. Fitzwater, United States District Judge for
         the Northern District of Texas, sitting by designation.
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                                   SUMMARY **


                                  Habeas Corpus

             The panel affirmed the district court’s denial of
         Tahawwur Hussain Rana’s 28 U.S.C. § 2241 habeas corpus
         petition challenging a magistrate judge’s certification of
         Rana as extraditable to India for his alleged participation in
         terrorist attacks in Mumbai.
             Under the limited scope of habeas review of an
         extradition order, the panel held that Rana’s alleged offense
         fell within the terms of the extradition treaty between the
         United States and India, which included a Non Bis in Idem
         (double jeopardy) exception to extraditability “when the
         person sought has been convicted or acquitted in the
         Requested State for the offense for which extradition is
         requested.” Relying on the plain text of the treaty, the State
         Department’s technical analysis, and persuasive case law of
         other circuits, the panel held that the word “offense” refers
         to a charged crime, rather than underlying acts, and requires
         an analysis of the elements of each crime. The panel
         concluded that a coconspirator’s plea agreement did not
         compel a different result. The panel held that the Non Bis in
         Idem exception did not apply because the Indian charges
         contained distinct elements from the crimes for which Rana
         was acquitted in the United States.
            The panel also held that India provided sufficient
         competent evidence to support the magistrate judge’s


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           This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         finding of probable cause that Rana committed the charged
         crimes.


                                 COUNSEL

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         M. Argentieri, Acting Assistant Attorney General, Criminal
         Division; United States Department of Justice, Washington,
         D.C.; for Respondent-Appellee.


                                 OPINION

         M. SMITH, Circuit Judge:

             Tahawwur Hussain Rana, a Pakistani national, was tried
         in a United States district court on charges related to his
         support for a terrorist organization that carried out large-
         scale terrorist attacks in Mumbai, India. A jury convicted
         Rana of providing material support to a foreign terrorist
         organization and conspiring to provide material support to a
         foiled plot to carry out terrorist attacks in Denmark.
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         However, the jury acquitted Rana of conspiring to provide
         material support to terrorism related to the attacks in India.
         After Rana served seven years in prison for those
         convictions and upon his compassionate release, India
         issued a request for his extradition to try him for his alleged
         participation in the Mumbai attacks.
             Before the magistrate judge who initially decided Rana’s
         extraditability (the extradition court), Rana argued that the
         United States’ extradition treaty with India protected him
         from extradition because of its Non Bis in Idem (double
         jeopardy) provision. He also argued that India did not
         provide sufficient evidence to demonstrate probable cause
         that he committed the charged crimes. The extradition court
         rejected Rana’s arguments and certified that he was
         extraditable. After Rana raised the same arguments in a
         habeas petition in district court (the habeas court), the habeas
         court affirmed the extradition court’s findings of facts and
         conclusions of law. This appeal timely followed, with Rana
         raising both his Non Bis in Idem and probable cause
         arguments. We affirm.
             FACTUAL AND PROCEDURAL BACKGROUND
             I. Factual Background
             Rana and David Coleman Headley were childhood
         friends. 1 In adulthood, Rana deserted his post in the
         Pakistani army and moved to Chicago, where he established
         an immigration business. For his part, Headley started
         trafficking heroin, ultimately radicalized, and attended

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          We recount these facts based on testimony and evidence before the
         extradition court, including testimony and evidence presented in Rana’s
         criminal trial in the Northern District of Illinois. Rana disputes their
         accuracy, as outlined in Section II below.
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         training camps operated by the terrorist organization
         Lashkar-e-Tayyiba (Lashkar). According to Headley’s
         testimony, the pair met in Chicago multiple times over the
         course of three years, plotting to assist Lashkar in terrorist
         attacks that ultimately killed and injured hundreds of people.
             In August 2005, the pair met over several days in
         Chicago, where Headley told Rana about Lashkar’s plans for
         Headley to travel to public places and government facilities
         in India to conduct surveillance for a possible attack.
         Headley proposed using Rana’s immigration business as a
         front for Lashkar’s surveillance activities, with Headley
         posing as an “immigration consultant” for Rana in Mumbai.
         To sweeten the deal for Rana, Headley offered to help
         resolve Rana’s status as a deserter from the Pakistani army.
             In June 2006, Headley again met with Rana in Chicago,
         elaborating on his involvement with Lashkar. After agreeing
         to open a Mumbai branch of his immigration business, Rana
         helped Headley complete a successful application for an
         Indian business visa, which contained several inaccuracies.
         Headley used the visa to travel to India under the pretense of
         operating the Mumbai branch of Rana’s business. Although
         Headley rented an apartment, hired a secretary, and signed a
         lease for the branch, little to no immigration work occurred
         there.
             In July 2007, Headley stayed at Rana’s Chicago home,
         informed him about the surveillance he had conducted while
         in India, and showed Rana a video Headley had taken of the
         Taj Mahal Palace Hotel. Rana helped Headley secure a five-
         year multi-entry Indian visa. Utilizing that visa, Headley
         traveled to India multiple times between September 2007
         and March 2008, conducting further surveillance of potential
         targets. In May 2008, Headley informed Rana about the
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         surveillance he conducted in Mumbai, identifying possible
         attack targets, including the Taj Mahal Palace Hotel.
             In the fall of 2008, Headley warned Rana to avoid India,
         where attacks were imminent, and arranged for Rana to meet
         with one of their co-conspirators in Dubai. During a later
         intercepted conversation, Rana told Headley that their co-
         conspirator in Dubai had confirmed the upcoming attacks.
         The lease on the Mumbai office expired in November 2008,
         and neither Rana nor Headley renewed it.
             Lashkar carried out massive terrorist attacks throughout
         Mumbai, including at the Taj Mahal Palace Hotel, between
         November 26 and 29, 2008. The attacks killed 166 people,
         injured 239, and resulted in more than $1.5 billion in
         property damage. Rana commended the terrorists who
         carried out the attacks and stated that the people of India
         “deserved it.”
             After the terrorist attacks in India were completed,
         Headley and Lashkar began plotting new, but ultimately
         unsuccessful, attacks in Denmark and India. Headley once
         again used the immigration business as a cover to conduct
         surveillance, this time in Denmark. Headley kept Rana
         apprised of his surveillance activities, and Rana
         communicated directly with Headley’s Lashkar contacts.
             II. Procedural Background
             On October 3, 2009, United States law enforcement
         arrested Headley in Chicago. Headley pled guilty to twelve
         terrorism-related charges in the Northern District of Illinois,
         including multiple counts related to the Mumbai attacks and
         the foiled Denmark plot. Headley agreed to cooperate with
         the United States, and his plea agreement contained a non-
         extradition provision.
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             Law enforcement also arrested and indicted Rana on
         October 18, 2009. Rana was tried on three counts:
         conspiracy to provide material support to terrorism in India,
         18 U.S.C. § 2339A, conspiracy to provide material support
         to terrorism in Denmark, id., and providing material support
         to a foreign terrorist organization, id. § 2339B. Headley
         testified for the prosecution. On June 9, 2011, the jury
         convicted Rana of the terrorism conspiracy related to
         Denmark and providing material support to Lashkar but
         acquitted him of the terrorism conspiracy related to India.
         On January 17, 2013, the district court sentenced Rana to 14
         years in prison. After serving seven years of prison time,
         Rana’s motion for compassionate release was granted during
         the COVID-19 pandemic.
              While Rana was in United States custody, the Indian
         government charged Rana, accusing him of conspiring to
         plan and carry out the Mumbai attacks. On August 28, 2018,
         an Indian judge issued a warrant for Rana’s arrest on charges
         related to the attacks, including (1) conspiracy to (a) wage
         war, (b) commit murder, (c) commit forgery for the purpose
         of cheating, (d) use as genuine a forged document or
         electronic record, and (e) commit a terrorist attack;
         (2) waging war; (3) murder; and (4) committing a terrorist
         act. 2 India subsequently requested Rana’s extradition.
             One day after Rana was granted compassionate release,
         the United States filed a complaint for his provisional arrest
         in response to India’s extradition request. On May 16, 2023,

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          We have simplified the charges for the purposes of this opinion. Some
         of the charges, including conspiracy to wage war and conspiracy to
         commit a terrorist act, were brought as multiple charges under separate
         provisions of India’s Penal Code and Unlawful Activities Prevention
         Act.
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         the extradition court certified Rana’s extradition pursuant to
         18 U.S.C. § 3184 and rejected Rana’s claims that (1) his
         extradition to India was barred under the Non Bis in Idem
         provision of the Extradition Treaty Between the Government
         of the United States of America and the Government of the
         Republic of India (the Treaty) and (2) India’s evidence
         against Rana failed to establish probable cause that Rana
         committed the offenses for which the certification of
         extradition was sought.
              Rana sought collateral review in the habeas court by
         filing a petition pursuant to 28 U.S.C. § 2241. The habeas
         court rejected Rana’s same arguments, denying his petition
         on August 10, 2023. The habeas court, however, stayed
         Rana’s extradition pending this timely appeal.
             JURISDICTION AND STANDARD OF REVIEW
             The extradition court had jurisdiction pursuant to 18
         U.S.C. § 3184. The habeas court had jurisdiction pursuant
         to 28 U.S.C. § 2241(a). We have jurisdiction pursuant to 28
         U.S.C. §§ 1291, 2253(a).
             “We review de novo the district court’s denial of a
         habeas petition in extradition proceedings.” United States v.
         Knotek, 925 F.3d 1118, 1124 (9th Cir. 2019). We evaluate
         “factual questions, as determined by the extradition
         magistrate judge, for clear error.” McKnight v. Torres, 563
         F.3d 890, 892 (9th Cir. 2009).
             “The scope of habeas review of an extradition order is
         severely limited.” Artukovic v. Rison, 784 F.2d 1354, 1355–
         56 (9th Cir. 1986). We can review only “whether: (1) the
         extradition magistrate judge had jurisdiction over the
         individual sought, (2) the treaty was in force and the
         accused’s alleged offense fell within the treaty’s terms, and
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         (3) there is any competent evidence supporting the probable
         cause determination of the magistrate judge.” Knotek, 925
         F.3d at 1124 (citation, internal quotation marks, and
         alterations omitted). Rana challenges only the latter two
         issues, and we address them in turn.
                                 ANALYSIS
           I. Rana’s alleged offense fell within the Treaty’s terms.
               Article 1 of the Treaty states that the United States and
         India “agree to extradite to each other . . . persons who, by
         the authorities in the Requesting State are formally accused
         of, charged with or convicted of an extraditable offense
         . . . .” One exception is “when the person sought has been
         convicted or acquitted in the Requested State for the offense
         for which extradition is requested,” codified at Article 6(1).
         Rana argues that he cannot be extradited based on conduct
         for which he was acquitted in the United States because the
         word “offense” refers to underlying acts. The government
         argues that “offense” refers to a charged crime and requires
         an analysis of the elements of each charged crime. Thus,
         according to the government, the Treaty permits Rana’s
         extradition because the Indian charges contain distinct
         elements from the crimes for which he was acquitted in the
         United States.
             Treaty interpretation begins with the Treaty’s plain text,
         but we also consider its negotiations, drafting history, and
         post-ratification understanding of the signatory nations.
         Medellín v. Texas, 552 U.S. 491, 506–07 (2008). Here, the
         Treaty’s plain terms, the post-ratification understanding of
         the signatories, and persuasive precedent all support the
         government’s interpretation. Rana argues, however, that,
         based on the government’s interpretation of the Treaty in
         Headley’s plea agreement, we should judicially estop the
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        government from advocating for its current interpretation of
        the Treaty. We decline to do so.
             A. The plain text of the Treaty supports a meaning
                of “offense” that denotes a charged crime defined
                by its elements.
            The parties refer us to several provisions both within and
        outside the Treaty that assist us in interpreting Article 6(1):
        Article 6(2), Article 2, and the United States’ other
        extradition treaties. We address each source in turn.
            First, Article 6, when read as a whole, compels a reading
        of “offense” that requires comparing the elements of each
        country’s crimes. We begin with the text. 3 Article 6
        contains two provisions. Paragraph 1, the provision we are
        tasked with interpreting, states in full: “Extradition shall not
        be granted when the person sought has been convicted or
        acquitted in the Requested State for the offense for which
        extradition is requested.” (emphasis added). The subsequent
        provision, Paragraph 2, states: “Extradition shall not be
        precluded by the fact that the authorities in the Requested
        State have decided not to prosecute the person sought for the
        acts for which extradition is requested . . . .” (emphasis
        added). As is apparent, Paragraph 1 uses the word “offense,”
        while the very next provision uses the word “acts.” When
        treaties use differing language in parallel provisions, it
        “implies that the drafters of the [Treaty] understood the
        word[s] [] to mean something different . . . for they
        otherwise logically would have used the same word in each
        article.” Air France v. Saks, 470 U.S. 392, 398 (1985);

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          The government points to Black’s Law Dictionary, which defines
        “offense” as a “violation of the law” or “crime.” Black’s Law Dictionary
        1300 (11th ed. 2019). This definition does not aid our inquiry because it
        begs the question of how we should compare similar crimes.
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        Hosaka v. United Airlines, Inc., 305 F.3d 989, 995 (9th Cir.
        2002). Thus, the most natural reading of Paragraph 1
        compels a definition of “offense” that is distinct from “acts.”
            Because “acts” in Paragraph 2 refers to uncharged
        conduct, “offense” in Paragraph 1 must refer to something
        other than uncharged conduct. Rana argues that “acts” in
        Paragraph 2 means the same thing as “offense[s]” as used in
        Paragraph 1. This argument is unpersuasive. As Rana
        concedes in his reply brief, “Article 6(2) refers to instances
        where the requested state has declined to prosecute, meaning
        that the acts at issue may never have coalesced into an
        offense under the laws of that state.” We thus read “offense”
        as a charged crime, with elements, as distinct from
        uncharged “acts” or conduct. 4
            Second, Rana points to Article 2’s dual criminality
        provision, which uses “offense” to refer to underlying
        conduct. Article 2 states that “[a]n offense shall be an
        extraditable offense if it is punishable under the laws in both
        Contracting States by deprivation of liberty, including
        imprisonment, for a period of more than one year or by a
        more severe penalty.” Binding Ninth Circuit precedent
        instructs that, for purposes of the dual criminality provision,
        “the elements of the analogous offenses need not be
        identical.” Clarey v. Gregg, 138 F.3d 764, 766 (9th Cir.
        1998). Rana argues that because “offense” is used to refer



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          Rana’s argument that similar treaties’ submittal letters refer to “acts”
        as “offenses” when explaining similar provisions does not cut in his
        favor. While it is possible (although unlikely) that “acts” and “offenses”
        are intended as synonyms in Article 6, that reading does not necessarily
        mean that they both refer to “conduct.” It is equally as likely that both
        words refer to crimes consisting of elements.
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        to conduct in Article 2, it must also refer to conduct in Article
        6.
            While Rana is correct that typically “identical words
        used in different parts of the same act are intended to have
        the same meaning,” Sorenson v. Secretary of the Treasury,
        475 U.S. 851, 860 (1986), Article 2 contains limiting
        language. It instructs that “offense” is to be interpreted
        “[f]or the purposes of this Article” “whether or not the laws
        in the Contracting States place the offense within the same
        category of offenses or describe the offense by the same
        terminology.” In other words, the Treaty explicitly states
        that for the purposes of the dual criminality provision,
        whether the offenses in each state use the same terminology
        (or, in other words, elements) is irrelevant. See Knotek, 925
        F.3d at 1131 & n.12 (explaining that a similar provision in
        the extradition treaty with the Czech Republic incorporated
        the rule that, for the purposes of dual criminality, “[t]he
        elements of one offense ‘need not be identical to the
        elements of a similar offense in the United States’”). No
        such limiting language exists in Article 6.
            Moreover, despite Rana’s argument that “offense”
        consistently means “acts” in Article 2, multiple provisions
        seem to reference the elements of a crime when using
        “offense.” For example, Article 2, Paragraph 4 of the Treaty
        states: “Extradition shall be granted for an extraditable
        offense regardless of where the act or acts constituting the
        offense were committed.” The Treaty here acknowledges
        that various acts make up an offense. The contracting states
        could have drafted language requiring that extradition shall
        be granted for an extraditable offense “regardless of where
        the offense was committed,” but they did not. Further,
        Paragraph 2 of Article 2 states: “An offense shall also be an
        extraditable offense if it consists of an attempt or a
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        conspiracy to commit, aiding or abetting, counselling or
        procuring the commission of or being an accessory before or
        after the fact to, any offense described in paragraph 1.”
        Here, Article 2, Paragraph 2 refers to an offense as
        something that includes elements, such as aiding and
        abetting or conspiracy.
            Third, this interpretation is further supported by
        comparing treaties that specifically use the word “acts” in
        their Non Bis in Idem provisions. For example, the U.S.
        Extradition Treaty with Italy uses the word “acts” in its Non
        Bis in Idem provision, as did the 1971 Extradition Treaty
        between the United States and France. When the United
        States and France rewrote their extradition treaty in 1996,
        they changed the Non Bis in Idem provision to use the term
        “offense.” These examples demonstrate that, when the
        United States and its allies want to protect similar conduct
        from being dually prosecuted in each nation, they use
        language to evince that intent. They did not do so here, and
        we see no reason to ignore the Treaty’s plain terms.
           B. The State Department’s technical              analysis
              supports an elements approach.
            The post-ratification understanding of the signatories
        confirms this reading. “It is well settled that the Executive
        Branch’s interpretation of a treaty ‘is entitled to great
        weight.’” Abbott v. Abbott, 560 U.S. 1, 15 (2010) (quoting
        Sumitomo Shoji America, Inc. v. Avagliano, 457 U.S. 176,
        185 (1982)). Here, the United States Departments of State
        and Justice submitted a technical analysis to Congress based
        on their notes in negotiating the Treaty. The analysis states
        that Article 6, Paragraph 1 “applies only when the person
        sought has been convicted or acquitted in the Requested
        State of exactly the same crime that is charged in the
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        Requesting State. It is not enough that the same facts were
        involved.” (emphasis added). We give this interpretation
        substantial weight. 5
            Prior to the Supreme Court's overruling of Chevron
        U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467
        U.S. 837 (1984), see Loper Bright Enters. v. Raimondo, 144
        S. Ct. 2244 (2024), Rana argued that Chevron’s likely
        impending demise would undermine the precedent requiring
        us to defer to the Executive Branch’s interpretation of the
        Treaty. But because the logic underpinning Chevron
        deference is entirely distinct from the logic underpinning a
        deference to the Executive in matters of foreign affairs, see
        U.S. Const. art. II, § 2; Haig v. Agee, 453 U.S. 280, 293–94
        (1981) (“[T]he generally accepted view [is] that foreign
        policy was the province and responsibility of the
        Executive.”), Loper Bright has no effect on our decision
        here.
            Documents like a technical analysis help us understand
        the negotiators’ intent in creating a binding agreement with
        another nation. We defer to those documents because they
        state what the drafters meant when they wrote the treaties at
        issue. As we explained in Patterson v. Wagner, 785 F.3d
        1277 (9th Cir. 2015):

                 Because the purpose of treaty interpretation
                 is to ‘give the specific words of the treaty a
                 meaning consistent with the shared
                 expectations of the contracting parties,

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          This interpretation is further supported by India’s similar reading of the
        Treaty. The Indian opinion that Rana claims the government overlooks
        is a dissenting opinion from the Indian Supreme Court and lacks the force
        of law.
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               courts—including our Supreme Court—look
               to the executive branch’s interpretation of the
               issue, the views of other contracting states,
               and the treaty’s negotiation and drafting
               history in order to ensure that their
               interpretation of the text is not contradicted
               by other evidence of intent.

        Id. at 1281–82 (internal citations omitted); see, e.g.,
        Manrique v. Kolc, 65 F.4th 1037, 1043 (9th Cir. 2023)
        (utilizing technical analysis as “strong evidence” of the
        United States’ intent).
            On the other hand, Chevron deference relied primarily
        on an agency’s policy expertise, rather than its insight into
        Congress’s intent. See Chevron, 467 U.S. at 865–66
        (explaining that judges, who are not policy experts, should
        defer to an agency’s wise policy expertise). Loper Bright
        held that this long-standing rationale was flawed because the
        Administrative Procedure Act’s (APA) mandate that
        reviewing courts determine “all relevant questions of law”
        means that courts must “exercise independent judgment in
        determining the meaning of statutory provisions.” 144 S. Ct.
        at 2262. This reasoning does not touch, let alone undermine,
        the principle that we are to give deference to the Executive
        Branch’s understanding of its own treaties.
            Rana makes similar arguments based on his view that the
        Supreme Court is likely to also undermine Auer deference,
        as articulated in Auer v. Robbins, 519 U.S. 452 (1997). The
        Supreme Court rejected the opportunity to do so in Kisor v.
        Wilkie, 588 U.S. 558 (2019), and we have no reason to
        believe that the possibility of overruling Auer would
        materially affect this case in any way. Auer does not apply
        here because we are not reviewing an agency’s interpretation
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        of its own regulation. Based on Kisor, however, Rana argues
        that the State Department’s interpretation must reflect “fair
        and considered judgment.” Id. at 579. 6 Even if Auer did
        apply, the State Department’s technical analysis need not
        “be supported with reasoning and analysis,” as Rana
        contends, because it is merely a recounting of the Executive
        Branch’s understanding of the treaty it negotiated.
             Rana refers us to Hill v. Norton, 275 F.3d 98 (D.C. Cir.
        2001), as persuasive authority that we need not defer to the
        Executive’s interpretation of treaties. In that case, the D.C.
        Circuit held that the failure of the Secretary of the Interior to
        include a certain bird species on a list of birds protected by
        the Migratory Bird Treaty Act was arbitrary and capricious
        under the APA. Id. at 99. That case, however, is distinct for
        two reasons. First, Hill involved review of post-ratification
        implementation of a treaty via regulations, not a technical
        analysis explaining the intent of the drafters. Id. The
        Secretary of the Interior’s regulations did not evince a pre-
        ratification intent. Second, the Secretary’s implementing
        regulation contradicted the clear, unambiguous terms of the
        treaty, which is, as stated above, not the case here. See id. at
        106.
            The plain meaning of the Treaty is supported by the
        Executive’s understanding of its terms at the time of
        drafting. We defer to that understanding.




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          Rana also argues that we could only defer to the State Department’s
        interpretation of an ambiguous treaty. We come to our conclusion
        primarily based on the unambiguous plain text of the Treaty, so this
        argument makes no difference.
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           C. Persuasive case law supports an elements
              approach.
            The Fourth Circuit considered a similar treaty provision
        in Zhenli Ye Gon v. Holt (Ye Gon), 774 F.3d 207 (4th Cir.
        2014), and required an elements-based analysis. The Non
        Bis in Idem provision there stated that the requested country
        shall not extradite a fugitive who “‘has been prosecuted or
        has been tried and convicted or acquitted’ in that country, if
        that prosecution or trial was ‘for the offense for which
        extradition is requested.’” Id. at 211. The Fourth Circuit
        interpreted “offense” to mean “the definition of the crime.”
        Id. at 215.
            The Fourth Circuit compared the Non Bis in Idem
        provision to the dual criminality provision of the treaty. Id.
        The dual criminality provision prevented extradition for
        crimes unless they were “wilful acts . . . punishable in
        accordance with the laws of both Contracting Parties.” Id.
        Because the dual criminality provision used the word “acts”
        and the Non Bis in Idem provision used the word
        “offense[s],” the Fourth Circuit held that “offenses” “must
        be something other than the acts underlying those offenses.”
        Id. The most natural reading of “offenses,” the Fourth
        Circuit explained, is the definition of the crime, supporting
        the double jeopardy approach outlined in Blockburger v.
        United States, 284 U.S. 299 (1932). Ye Gon, 774 F.3d at
        215. Although the dual criminality provision here also uses
        the word “offense,” it explicitly limits “offense” to mean
        conduct for that provision only. See Knotek, 925 F.3d at
        1131 n.12. Here, the word “acts” is used in the very next
        paragraph in Article 6, leading to an even stronger inference
        that “acts” and “offense[s]” have distinct definitions. See Air
        France, 470 U.S. at 398.
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            Similarly, the Eleventh Circuit in United States v.
        Duarte-Acero, 208 F.3d 1282 (11th Cir. 2000), read the
        word “offense” in a Non Bis in Idem provision to refer
        narrowly to criminal elements, as opposed to “[a] broader
        formulation[,] [which] would have used the word ‘act,’
        ‘action,’ or ‘conduct.’” Id. at 1286; see also United States v.
        Trabelsi, 845 F.3d 1181, 1193 (D.C. Cir. 2017) (Pillard, J.,
        concurring in part and concurring in the judgment)
        (endorsing a Blockburger analysis in interpreting whether
        the same “offense” was prosecuted in each country).
            Rana also refers us to Sindona v. Grant, 619 F.2d 167
        (2d Cir. 1980), in which the Second Circuit interpreted
        “offense” to mean underlying conduct. That decision,
        however, is less persuasive for several reasons. First, the
        “same conduct” test in Sindona was, at least in part, based
        on a concurrence by Justice Brennan in Ashe v. Swenson, 397
        U.S. 436 (1970), which the Supreme Court eroded in United
        States v. Dixon, 509 U.S. 688, 704 (1993) (striking down the
        “same conduct” rule for double jeopardy analysis as “wholly
        inconsistent with earlier Supreme Court precedent and with
        the clear common-law understanding of double jeopardy”).
        See Ye Gon, 774 F.3d at 216–17. Second, Sindona relied on
        the policy of the Department of Justice not to try federal
        cases where a state has prosecuted “the same act or acts.”
        619 F.2d at 178 (citing Petite v. United States, 361 U.S. 529,
        530–31 (1960) (per curiam)). The internal DOJ Petite Policy
        has no bearing on what the word “offense” means in the
        Treaty, particularly where the policy does not use the word.
        See Ye Gon, 774 F.3d at 216. Finally, Sindona relied on the
        argument that a foreign country “could hardly be expected
        to be aware of Blockburger.” 619 F.2d at 178. While that
        may have been true in 1980, the Treaty was signed nearly
        twenty years later in 1997. Even if India were not aware of
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        Blockburger, our conclusion that “offense” and “acts” must
        have different meanings stands. Rana has offered no other
        non-elements-based definition of “offense” that would
        distinguish it from Article 6’s use of “acts” in Paragraph 2.
        Thus, nothing in Sindona persuades us that “offense” does
        not refer to a crime’s elements. 7
            D. Headley’s plea agreement does not compel a
               different result.
            Rana contends that the government’s interpretation of
        Article 6 in Headley’s plea agreement demonstrates that
        “offense” refers to conduct rather than elements. Headley’s
        plea agreement states: “Pursuant to Article 6 of the
        Extradition Treaty . . . defendant shall not be extradited . . .


        7
          Along similar lines, Rana suggests that the government’s interpretation
        of “offense” creates absurd results because there may be local or country-
        specific elements included in a crime, such as an effect on interstate
        commerce. The plain language of the Treaty, however, suggests that this
        may be the intended result. In Article 2, Section 3(b), the Treaty states
        that for purposes of the dual criminality provision, an offense is
        extraditable “whether or not the offense is one for which United States
        federal law requires the showing of such matters as interstate
        transportation, or use of the mails or of other facilities affecting interstate
        or foreign commerce, such matters being merely for the purpose of
        establishing jurisdiction in a United States federal court[.]” The
        inclusion of this provision in Article 2 demonstrates that the drafters
        were aware of difficulties in comparing United States and Indian law but
        chose not to include such an exception in Article 6.
           In any event, neither of the terrorism conspiracies for which Rana was
        prosecuted under 18 U.S.C. § 2339A required proof of a local element.
        If, at an appropriate time, we determine it is necessary to carve out a
        jurisdictional-element exception to Blockburger to apply exclusively in
        extradition cases, we may do so. Cf. United States v. Hairston, 64 F.3d
        491, 496 (9th Cir. 1995). At this time, we take no stance on whether
        such an exception would be appropriate or necessary.
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        for any offenses for which he has been convicted in
        accordance with this plea.” The next sentence states:

               The defendant and the United States
               Attorney’s Office accordingly agree that, if
               defendant pleads guilty to and is convicted of
               all offenses set out in the Superseding
               Indictment, including Conspiracy to Bomb
               Places of Public Use in India (in violation of
               18 U.S.C. § 2332f(a)(2)) . . . then the
               defendant shall not be extradited to the
               Republic of India . . . for the foregoing
               offenses, including conduct within the scope
               of those offenses for which he has been
               convicted . . . (emphasis added).

        Rana further points to statements made by U.S. Attorney
        Patrick J. Fitzgerald at Headley’s plea colloquy describing
        the above plea provision:

               Your Honor, I think that is a summary of
               what is a paragraph that is very specific in
               Paragraph 9 of the agreement . . . . And that
               says if the conduct is conduct within the
               scope of those offenses for which he has been
               convicted in accordance with the plea, then
               according to the treaty, he would not be
               extradited.

            Taking the plea agreement by itself, the language does
        not obviously suggest that “offense” means “conduct.” The
        plea agreement specifies that, for purposes of the agreement,
        offense “include[s] conduct within the scope of those
        offenses,” thus suggesting that “offense” is not co-extensive
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        with “conduct” in every case. Additionally, the “pursuant to
        Article 6” language occurs only in the prior sentence, which
        refers exclusively to offenses. The plea agreement then goes
        on to list the “offenses” for which Headley had been
        indicted, all of which refer to specific statutory criminal
        violations.
            The U.S. Attorney’s comments are less clear. Although
        they do seem to suggest that he interpreted the plea
        agreement to employ a conduct-based test under the Treaty,
        Rana provides no case that suggests that a singular statement
        by a U.S. Attorney interpreting a plea agreement should
        control over both plain language in the Treaty and the
        earlier-in-time contemporaneous understanding of the State
        Department.
            Instead, Rana asks this court to judicially estop the
        Justice Department from changing positions between
        Headley’s and Rana’s proceedings. He also asks that, in the
        alternative, we remand to the district court for production
        and examination of internal Justice Department
        communications. A party is judicially estopped from
        making an argument “when 1) its current position is ‘clearly
        inconsistent’ with its previous position; 2) ‘the party has
        succeeded in persuading a court to accept that party’s earlier
        position’; and 3) the party, if not estopped, ‘would derive an
        unfair advantage or impose an unfair detriment on the
        opposing party.’” Perez v. Discover Bank, 74 F.4th 1003,
        1008 (9th Cir. 2023).
            We decline to estop the government here because, even
        if U.S. Attorney Fitzgerald’s statement was “clearly
        inconsistent” with the interpretation it now advances, it fails
        to meet the latter two prongs. First, the government did not
        persuade the district court to adopt its prior interpretation of
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        the Treaty; it merely asked the district court to approve a plea
        agreement that contained a provision that may have been
        broader than the Treaty. The district court did not explicitly
        accept any interpretation of the Treaty in approving the
        agreement. Second, Rana does not successfully articulate
        why the government would derive an unfair advantage from
        pursuing an interpretation of the Treaty that is supported by
        its plain language and technical analysis. Thus, we also
        decline to remand the case to the district court for production
        and examination of internal Justice Department
        communications.
            We conclude that “offense” in Article 6, Paragraph 1
        requires us to compare the elements of the crime for which
        Rana was acquitted in the United States with the elements of
        the crimes he is charged with in India. Because the parties
        do not dispute that the crimes charged in India have elements
        independent from those under which Rana was prosecuted
        in the United States, the Treaty permits Rana’s extradition.
          II. Competent evidence supports probable cause.
            Article 9.3(c) of the Treaty provides that a request for
        extradition must be supported by “such information as would
        justify the committal for trial of the person if the offense had
        been committed in the Requested State.” The parties agree
        that this standard requires India to provide information “that
        would be sufficient to establish probable cause” that Rana
        committed the alleged crime. Emami v. U.S. Dist. Court for
        N. Dist. of Cal., 834 F.2d 1444, 1447 (9th Cir. 1987). We
        must affirm the probable cause finding so long as “there was
        any evidence warranting the finding that there was
        reasonable ground to believe the accused guilty.” Manrique,
        65 F.4th at 1044.
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            Rana attacks the credibility of Headley, who was the
        government’s main witness. Rana argues that the extradition
        court should have discounted Headley’s testimony because
        he (a) is a serial cooperator who returned to criminal activity,
        (b) “received training in manipulation and deception by the
        ISI, Pakistan’s intelligence service,” (c) initially denied
        Rana’s knowledge of Headley’s terrorist activities and then
        only disclosed Rana’s knowledge after Rana’s arrest,
        (d) used Rana for illegal activity without Rana’s knowledge,
        (e) deceived his multiple wives, (f) and told other unrelated
        falsehoods to his associates and a judge.
            Questions concerning Headley’s credibility, however,
        are not properly before us. “An accused in an extradition
        hearing has no right . . . to pose questions of credibility as in
        an ordinary trial . . . .” Santos v. Thomas, 830 F.3d 987, 992
        (9th Cir. 2016) (en banc) (quoting Eain v. Wilkes, 641 F.2d
        504, 511 (7th Cir. 1981)). The only evidence an accused can
        introduce “is evidence that ‘explains away or completely
        obliterates probable cause.’” Id. (quoting Mainero v.
        Gregg, 164 F.3d 1199, 1207 n.7 (9th Cir. 1999), superseded
        by statute on other grounds as recognized in Manrique, 65
        F.4th at 1044). Attacks on Headley’s credibility, while
        perhaps compelling to a jury, do not rise to the level of
        “complete[] obliterat[ion]” required to find a lack of
        probable cause. Id. In Barapind v. Enomoto, for example,
        our court sitting en banc rejected the accused’s proffer of a
        “significant” government witness’s complete recantation of
        his identification of the accused. 400 F.3d 744, 749–50 (9th
        Cir. 2005) (per curiam) (en banc). None of the attacks Rana
        proffers regarding Headley’s credibility comes anywhere
        close to a direct recantation of his testimony, and all of them
        would require evaluations of credibility best left for trial.
        See Santos, 830 F.3d at 992.
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             The government correctly notes that the cases to which
        Rana cites largely recite probable cause standards in the
        criminal context outside of extradition proceedings, see
        Illinois v. Gates, 462 U.S. 213 (1983); United States v.
        Jensen, 425 F.3d 698 (9th Cir. 2005); United States v.
        Nielsen, 371 F.3d 574 (9th Cir. 2004), and it is unclear why
        those cases apply given the clear, recent precedent
        proscribing the consideration of impeachment evidence in
        extradition proceedings. Rana points to Choe v. Torres, 525
        F.3d 733 (9th Cir. 2008), to support his argument that this
        court can consider a credibility challenge to undermine the
        extradition court’s probable cause finding, but that case did
        just the opposite. There, we rejected the petitioner’s
        credibility challenge: “Ho’s lack of credibility is merely a
        weakness in Korea’s case; it does not ‘completely
        obliterate[]’ the evidence of probable cause.” Id. at 740. 8
            One district court case cited by Rana, In re Extradition
        of Ameen, 2021 WL 1564520, at *13 (E.D. Cal. Apr. 21,
        2021), relies on Quinn v. Robinson, 783 F.2d 776, 815 (9th
        Cir. 1986), for the proposition that the extradition magistrate
        judge may consider credibility evidence. Quinn makes clear,
        however, that our court may not consider credibility attacks
        on habeas review, even if an extradition magistrate judge
        may consider them. See id. We review Rana’s habeas
        petition here, so we may not consider Headley’s credibility.
        The other out-of-circuit district court case Rana cites, In re
        Mazur, 2007 WL 2122401 (N.D. Ill. July 20, 2007), is also
        clearly distinguishable. There, the court evaluated multiple
        statements surrounding the same event from an individual

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         We do not consider the likelihood that Rana would die in jail or be
        unable to obtain legal representation in India. We must assume that Rana
        will face a fair trial. Glucksman v. Henkel, 221 U.S. 508, 512 (1911).
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        witness. Id. at *21–22. The court rejected the witness’s
        statements because the story changed so substantially
        between statements that it was impossible to believe that the
        story was true and because the witness “admit[ted] that he
        lied under oath” and “that he essentially made up the
        connection between” the petitioner and the criminal activity.
        Id. Rana has not presented similar evidence here. 9 Thus, no
        case Rana cites to supports the proposition that this court
        may consider credibility attacks in determining whether the
        extradition judge properly found probable cause.
            Rana’s arguments that the Pakistan Intelligence Service
        paid for the Mumbai office, and that Rana would not have
        checked Headley’s false visa application, rely exclusively on
        an attack on Headley’s credibility, so we reject them. The
        other evidence that Rana offers (apart from his attack on
        Headley’s credibility) does not help him. His arguments that
        (1) the Mumbai office did business, (2) the Mumbai office
        closed around the time of the attack for legitimate reasons,
        and (3) the warning about the impending attacks from
        Headley’s co-conspirator in Dubai disproves Rana’s earlier
        awareness of the attacks, do not upset the finding of probable
        cause.
            First, Rana presents evidence disproving that the
        “Mumbai office did no business,” but that ignores clear
        testimony from the business’s customers, stating that they
        never received the visas for which they paid, and its


        9
          Rana argues that Headley’s initial refusal to implicate Rana is similar
        to Mazur, but the extradition court considered Headley’s explanation that
        he initially lied in an attempt to shield his childhood friend but ultimately
        offered up the evidence once he learned Rana was arrested. It is not in
        the province of our court, reviewing a habeas petition, to review that
        credibility determination. See Quinn, 783 F.2d at 815.
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        secretary, stating that “there [was] no business.” Second,
        Rana claims that the Mumbai office closing around the time
        of the attacks does not create an inference that the Mumbai
        office was a sham. Instead, Rana points to evidence that he
        was looking for ways to maintain his business presence in
        Mumbai. Even so, the evidence discussed above is sufficient
        to demonstrate probable cause that the Mumbai office was a
        sham. Finally, Rana argues that the fact that Headley sent a
        third party to warn Rana of the attacks disproves Rana’s
        involvement with the plot. This inference does not
        “obliterate” probable cause; an equally compelling inference
        could be drawn that Headley kept Rana informed of the
        plans. Competent evidence supports the extradition court’s
        finding of probable cause.
                             CONCLUSION
             The judgment of the district court is AFFIRMED.
